Case 2:OO-cV-02923-SHl\/|-egb Document 230 Filed 05/16/05 Page 1 of 5 PagelD 398

IN THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTERN D|VISION

EQUAL EMPLOYMENT OPPORTUNITY )
COMM|SS|ON, )
)
and )
l
CONSTANCE AMOS, )
)
P|aintiffs, )
v. )
)
AUTOZONE, lNC. )
)

Defendant.

ClV|L ACTION NO.
2:00-cv-2923 NlaylA

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AGREED ORDER D|SM|SSING PLAINTIFF EQUAL EMPLO¥MENT OPPORTUNlTY
COMM|SS|ON‘S CLA|M CONCERN|NG FA|LURE TO HIRE FEMALE TECHN|C|ANS

 

Plaintiff Equal Employment Opportunity Commission and Defendant submit this

agreed order dismissing the claim in this lawsuit that Defendant engaged in a pattern and

practice of failing to hire female applicants into the EEO Technician category because of

se)<. The parties have agreed that this claim should be dismissed with each party bearing

its own costs.

Accordingly, P|aintiff's claim that Defendant engaged in a pattern and practice of

failing to hire female applicants into the EEO Technician category because of sex is hereby

dismissed with prejudice, and each party shall bear its own costs concerning this claim.

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SAMUEL H MAYS, JR.
United States District Judge

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with Fiule 58 and/or 79(a) FHCP on

 

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Case 2:OO-cV-O2923-SHl\/|-egb Document 230 Filed 05/16/05 Page 2 of 5 PagelD 399

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Case 2:00-cV-02923-SHl\/|-egb Document 230 Filed 05/16/05 Page 4 of 5

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PagelD 401

Case 2:00-cV-02923-SHl\/|-egb Document 230 Filed 05/16/05 Page 5 of 5 PagelD 402

Honorable Samuel Mays
US DISTRICT COURT

